                    UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:

Trishina Lin Jackson,                                Case No. 21-47574-LSG
                                                     Chapter 7
                     Debtor.                         Hon. Lisa S. Gretchko
________________________________/

              ORDER DIRECTING JACKIE RUSSELL JACKSON JR.
               TO APPEAR FOR A CREDITOR’S EXAMINATION

         This matter came before the Court upon the Trustee’s motion to compel

Jackie Russel Jackson Jr. to appear for a creditors’ examination (“Motion”; ECF

No 33). The Trustee served the Motion and notice of the deadline for objections

thereto upon Jackie Russell Jackson Jr. No objection was timely filed, and a

certification of no response has been filed. The Court has reviewed the Order

Approving Compromise (ECF No. 25), the Trustee’s Declaration of Default (ECF

No. 28), the Motion and other pertinent pleadings, and is advised in the premises.

         NOW, THEREFORE, IT IS HEREBY ORDERED as follows:

         A.    Jackie Russell Jackson Jr. must appear on September 21, 2022, at

10:00 a.m., at the offices of Steinberg Shapiro & Clark, 25925 Telegraph Rd.,

Suite 203, Southfield, Michigan 48033 and submit to an examination under oath

concerning the nature and extent of his assets. Such examination will continue

thereafter from day to day until completed.



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      B.     No later than September 16, 2022, Jackie Russell Jackson Jr. will

produce to Steinberg Shapiro & Clark for inspection, copying, and use at the

examination by Trustee’s counsel all his current books and records setting forth the

nature and extent of all of his assets, including, but not limited to, the following:

             1.     Pay stubs or other proof of earnings for the past 24 months;

             2.     Complete copies of federal and state individual income tax
                    returns for 2019, 2020, and 2021;

             3.     Certificates of title for titled assets, including vehicles, boats,
                    and mobile homes;

             4.     Check books, check registers, bank deposit books, bank
                    statements, deposit slips, withdrawal slips, and canceled checks
                    pertaining to all bank accounts for the period January 1, 2021 to
                    the present date;

             5.     Statements for all bonds, stock certificates, brokerage accounts,
                    and credit card accounts for the period January 1, 2021 to the
                    present date;

             6.     All leases, mortgages, deeds, and contracts to which Jackie
                    Russell Jackson Jr. was a party for the period January 1, 2021
                    to the present date;

             7.     Life insurance policies that are owned by Jackie Russell
                    Jackson Jr. or insuring the life of Jackie Russell Jackson Jr.;

             8.     Current property tax statements;

             9.     Asset appraisals;

             10.    Divorce judgments and property settlement agreements;




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             11.    All records evidencing, relating to, or referring to all transfers
                    of real and personal property to a third party within the last six
                    years;

             12.    Statements from creditors reflecting the balances owed on
                    mortgages, mobile homes, and vehicles;

             13.    Retirement plan statements, including, but not limited to,
                    401(k) plans, individual retirement accounts, and stock savings
                    plans; and

             14.    All financial statements prepared by or on behalf of Jackie
                    Russell Jackson Jr. within the last three years.


Signed on September 12, 2022




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